              Case 8:16-cv-00960-PX Document 127 Filed 04/17/18 Page 1 of 7



                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF MARYLAND

                                                         *
CLAUDIA M. MORA, et al.,
                                                         *
         Plaintiffs,
                                                         *
    v.                                                           Civil Action No. PX-16-960
                                                         *
LANCET INDEMNITY RISK RETENTION
GROUP, INC.,                                             *

         Defendant.                                     *
                                                     ******

                                       MEMORANDUM OPINION

         Pending before the Court in this declaratory judgment action is whether relief in this case

should include that Defendant Lancet Indemnity Risk Retention Group, Inc. (“Lancet”) must

satisfy the judgment entered against its Insureds in the underlying state-court action that was the

subject of this Court’s prior merits decision. See ECF No. 113. For the following reasons, the

Court declares that Lancet is obligated to pay $996,840.50, plus post-judgment interest on the

entire outstanding state-court judgment1 until Lancet tenders payment as required by its policy.


         I.       Background


         This case has been the subject of several prior opinions, so the Court will summarize only

those facts necessary for resolving this current and final dispute. After the conclusion of a two-

day bench trial in July 2017, the Court declared that Lancet’s insurance policy issued to Dr.

Ishtiaq A. Malik, Advanced Walk-In Urgent Care, LLC, and Union Multi-Care Medical Center,


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         The total judgment entered in the state-court action is $2,564,097. ECF No. 75-4 at 30; ECF No. 123-1 at
2. However, as Plaintiffs noted during this Court’s recorded conference on April 16, 2018, Plaintiffs’ settlement
with Dr. Richard Osei Akoto reduces the judgment by 50% to $1,282,048.50 against Lancet’s Insureds, Dr. Ishtiaq
A. Malik, Advanced Walk-In Urgent Care, LLC, and Union Multi-Care Medical Center, Inc. See ECF No. 78-1 at
12, ECF No. 93-4 at 4.

                                                        1
           Case 8:16-cv-00960-PX Document 127 Filed 04/17/18 Page 2 of 7



Inc. (collectively, the “Insureds”), covers the state-court medical malpractice action that

Plaintiffs initiated in Circuit Court against the Insureds. See ECF No. 113 at 2, 19; ECF No. 114.

The Court left open the issue of monetary relief and requested additional briefing from the

parties. See ECF No. 114. This issue now is ripe for consideration.


        II.      Discussion


        Plaintiffs request that the Court’s declaratory judgment include that Lancet must satisfy

the state-court judgment in the amount of $996,840.50, representing the $1 million limit of

liability under the operative policy less the costs incurred by Lancet in defending the underlying

state-court lawsuit. Plaintiffs also request post-judgment interest on the entire $1,282,048.50

judgment against the Insureds at 10% per annum2 calculated from August 17, 2016, through the

date that Lancet “pays, offers to pay, or deposits into Court” $996,840.50. ECF No. 123 at 4.

          Lancet urges that this Court deny Plaintiffs’ request for three reasons. First, Lancet

maintains that Plaintiffs’ damages claim in the federal declaratory judgment action is “defective”

and “un-asserted” because Plaintiffs initiated this action prior to the entry of a final judgment

against the Insureds in the underlying state case, and because Plaintiffs did not include a specific

request for monetary relief in their Complaint. ECF No. 122 at 1–2. Second, Lancet argues that

the claim for damages is preempted by the Liability Risk Retention Act, 15 U.S.C. § 1309 et seq.

(the “LRRA”). Third, and in the alternative, Lancet argues that if damages are part of this

Court’s declaratory relief, Lancet’s overall exposure should be limited to $1 million total because

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         10% per annum interest is the applicable rate under Maryland law. Md. Code Ann., Cts. & Jud. Proc.,
§ 11-107(a) (West 2018). Money judgments bear interest at the rate prescribed by law from the date of the
judgment’s entry, by operation of law. Md. R. 2-604; see Accubid Excavation, Inc. v. Kennedy Contractors, Inc.,
188 Md. App. 214, 240–41 (Md. Ct. Special App. 2009); Cohn v. Freeman, 169 Md. App. 255, 258, 263–65, 274
(Md. Ct. Special App. 2006) (after judgment granted in the amount of $151,308 and pre-judgment interest, court
determined that post-judgment interest accrued from the date judgment was entered); id. at 269 (discussing a case in
which neither pre- nor post-judgment interest had explicitly been authorized; plaintiff was not entitled to pre-
judgment interest but was entitled to post-judgment interest).

                                                         2
          Case 8:16-cv-00960-PX Document 127 Filed 04/17/18 Page 3 of 7



the policy it issued to the Insureds is a “Defense Costs Inclusive” policy. The Court discusses

each argument in turn.


       A. Defective and Un-Asserted Claim


       Lancet argues that the Court lacks authority to award damages to Plaintiffs because

Plaintiffs’ pleadings “do not seek it,” and because Plaintiffs could not obtain such relief prior to

August 16, 2016, when the state court judgment in the underlying medical malpractice suit

became final. ECF No. 122 at 1–2. This argument fails. At the outset, it bears noting that after

judgment became final in the state-court action, Plaintiffs requested leave to file a Second

Amended Complaint in this action to identify with precision the monetary relief sought. See

ECF No. 93. The Court denied leave to file this amendment in part because Lancet agreed on

the record that Plaintiffs’ failure to request the specific monetary relief in their Amended

Complaint did not preclude Plaintiffs from seeking monetary damages if Plaintiffs prevailed in

this declaratory judgment action. See ECF No. 107 at 2. Ostensibly, Lancet agreed because it

recognized that under Declaratory Judgment Act, a Court may award monetary relief as

appropriate, even if not demanded in the complaint. See Ins. Servs. of Beaufort, Inc. v. Aetna

Cas. & Sur. Co., 966 F.2d 847, 851–52 (4th Cir. 1992) (relief granted under Declaratory

Judgment Act does not need to have been demanded or even proved; “[t]he district court clearly

had the power to hear the issue of damages after deciding the issue of liability and declaring the

parties’ rights in an equity action.”); Allstate Ins. Co. v. Guar. Ins. Exch. of Kansas City, 208 F.

Supp. 542, 544 (W.D.S.C. 1962) (grant of power in 28 U.S.C. § 2202 “is broad enough to vest

the district court with jurisdiction to award damages where it is necessary or proper to effectuate

relief based upon the declaratory judgment rendered in the proceedings”); 28 U.S.C. § 2202.



                                                  3
          Case 8:16-cv-00960-PX Document 127 Filed 04/17/18 Page 4 of 7



Lancet cannot now argue that Plaintiffs are precluded from receiving monetary relief because

they failed to amend their complaint to include a specific monetary demand.

       Moreover, as Plaintiffs point out, Lancet removed this case from Montgomery County

Circuit Court to this Court, thus invoking this Court’s jurisdiction under the Federal Declaratory

Judgment Act. See ECF No. 1; Hartford Fire Ins. Co. v. Harleysville Mut. Ins. Co., 736 F.3d

255, 261 n.3 (4th Cir. 2013) (“We treat a state court declaratory action that is removed as

invoking the Federal Declaratory Judgment Act.”); Alban Waste, LLC v. CSX Transp., Inc., 9 F.

Supp. 3d 618, 620 (D. Md. 2014). At no point did Lancet move to dismiss this action, nor did

Lancet argue in advance of trial that Plaintiffs could not prevail because a final judgment had not

been rendered in the state-court action. Instead, Lancet pursued counterclaims under the Federal

Declaratory Judgment Act, seeking a declaration from this Court that it was not obligated to

provide coverage under its policy for the claims asserted in the underlying state-court judgment.

ECF No. 22 ¶¶ 6, 37. Lancet thus availed itself of this Court’s jurisdiction, and indeed invited

this Court to declare the parties’ responsibilities under the pertinent policy. The relief now

contemplated is a further declaration of the “rights and other legal relations” of Plaintiffs and

Lancet. 28 U.S.C. § 2201(a). In this instance, the relevant declaration is the extent to which

Lancet has indemnified the Insureds and therefore must satisfy the state-court medical

malpractice judgment entered against them.


       B. LRRA Preemption


       Lancet next argues that the LRRA preempts “any application of Maryland statutory or

common law in a manner that permits a tort claimant the right to pursue a risk retention group

directly for damages,” and claims that because this case constitutes this very kind of “direct

action,” it is preempted. ECF No. 122 at 2. Once again, the Court disagrees.

                                                  4
          Case 8:16-cv-00960-PX Document 127 Filed 04/17/18 Page 5 of 7



       The LRRA preempts state laws that “make unlawful, or regulate, directly or indirectly,

the operation of a risk retention group.”3 15 U.S.C. § 3902(a)(1); see Soyoola v. Oceanus Ins.

Co., 986 F. Supp. 2d 695, 701–02 (S.D.W. Va. 2013) (preemption occurs when federal

regulations leave no room for states to supplement it; LRRA is intended to allow risk retention

groups to provide nationwide insurance coverage by subjecting it only to one set of licensing

requirements and one set of regulations). Lancet points this Court to Wadsworth v. Allied

Professionals Insurance Co., 748 F.3d 100 (2d Cir. 2014), in support of its position. Wadsworth

is inapposite. There, a direct action proceeded pursuant to New York statutory law which

expressly provided that “[i]n derogation of the common law” an injured party is vested with “a

substantive right” to bring claims “against a tortfeasor’s insurer.” Id. at 104. Because this

provision amounted to state law regulating risk retention groups, the United States Court of

Appeals for the Second Circuit found that the law was preempted by the LRRA. Id. at 105–08.

       Here, by contrast, Plaintiffs’ claim for relief arises under the Federal Declaratory

Judgment Act. Plaintiffs sought a declaration that under the policy Lancet issued, Lancet was

obligated to provide coverage to the Insureds for the claims in Plaintiffs’ medical malpractice

action. Lancet, in response, sought a declaration that its policy excluded coverage for the

medical malpractice action because the Insureds’ failure to cooperate prejudiced Lancet’s ability

to defend against it. In that respect, this action amounts to a straightforward application of the

Declaratory Judgment Act. See 28 U.S.C. § 2201(a); Penn-Am. Ins. Co. v. Coffey, 368 F.3d 409,

412 (4th Cir. 2004) (declaratory judgment is appropriate when it will serve a useful purpose in

clarifying and settling legal relations in issue and afford relief from the uncertainty and

controversy giving rise to the proceeding). The LRRA, in short, does not preclude an action

pursued under the Declaratory Judgment Act, even one involving damages.
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       The LRRA does not preempt the laws of the state in which the group is chartered.

                                                      5
          Case 8:16-cv-00960-PX Document 127 Filed 04/17/18 Page 6 of 7



       C. Defense Costs Inclusive


       Finally, Lancet argues that any damages for which it would be liable must be capped at

$1 million, the limit of liability applicable to a “claim” under its policy. Lancet relies more

particularly on a “defense costs inclusive” provision in its policy which, in Lancet’s view, bars

any post-judgment interest that exceeds the $1 million policy cap. ECF No. 122 at 2–4; see ECF

No. 22-1 at 14.

       Although Lancet’s policy includes defense costs within the amount of a “claim,” the

policy also explicitly provides for post-judgment interest as a payment supplemental to a claim,

rather than as a defense cost subject to the claim limit. Compare ECF No. 22-1 at 17 (defining

defense costs) with ECF No. 22-1 at 39 (defining supplemental payments to include “[a]ll

interest on the full amount of any judgment that accrues after the entry of judgment and before

we have paid, offered to pay, or deposited in court the part of the judgment that is within the

applicable Limits of Liability” (emphases added)). Therefore, post-judgment interest is not a

defense cost subject to the claim limit.

       As Plaintiffs rightly point out, insurance contracts often expressly contemplate payment

of post-judgment interest in this manner. See U.S. Fire Ins. Co. v. Nationwide Mut. Ins. Co., 735

F. Supp. 1320, 1326 (E.D.N.C. 1990) (discussing the standard interest clause); Fratus v.

Republic Western Ins. Co., 147 F.3d 25, 29 (1st Cir. 1998) (“[T]he clear majority of modern

courts that have interpreted a standard interest clause . . . have concluded that the policies mean

what they say.”); Md. Cas. Co. v. Wilkerson, 210 F.2d 245, 246 (4th Cir. 1954). This is to

incentivize timely and full payment on judgments and minimize frivolous appeals. See Brinn v.

Tidewater Transp. Dist. Com’n, 113 F. Supp. 2d 935, 938 (E.D. Va. 2000) (discussing purposes

of post-judgment interest on civil judgments). The post-judgment interest provision in Lancet’s


                                                  6
          Case 8:16-cv-00960-PX Document 127 Filed 04/17/18 Page 7 of 7



policy performs that very function, and the Court will not read this provision out of the policy.

Thus, according to the plain language of its own policy, Lancet is liable for post-judgment

interest on the full amount of the judgment awarded to Plaintiffs until it pays or offers payment

for the amount it owes on the claim, consistent with the terms of its policy.


       III.    Damages Calculation


       Based on the foregoing, the Court will amend its prior Order in this case to include a

declaration that Lancet must satisfy the state-court medical malpractice judgment against the

Insureds as provided in the policy it issued to the Insureds. The parties do not dispute that

Lancet may deduct its defense costs of $3,159.50 incurred in the state-court action from the $1

million dollar policy limit. Accordingly, the Amended Order in this case will declare that

Defendant Lancet Indemnity Risk Retention Group, Inc. is liable to Plaintiffs Claudia Mora, et

al., for the judgment issued in the Circuit Court of Montgomery County, Maryland, Mora v.

Advanced Walk-In Urgent Care, LLC, Case No. 407276-V, against Lancet’s Insureds in the

amount of $996,840.50. The Amended Order further will reflect that Plaintiffs are entitled to

post-judgment interest on the full amount of the state-court judgment against the Insureds,

$1,282,048.50, at the rate of 10% per annum, calculated from August 17, 2016, through the date

when Lancet pays to Plaintiffs, offers to pay to Plaintiffs, or deposits into court $996,840.50 as

required by its policy. The Amended Order follows.


 4/17/2018                                                           /S/
Date                                                  Paula Xinis
                                                      United States District Judge




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